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                     BEFORE THE UNITED STATESJUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION

         In Re Deere & Company Repair Services Antitrust Litigation MDL No. 3030

                                         PROOF OF SERVICE

       I certify that on March 22, 2022, I electronically filed the foregoing Response to Motion to

Transfer with the Clerk of Court using the JPML CM/ECF filing system which provides electronic

service upon all counsel of record. I have additionally served all counsel of record via electronic mail

as noted on the attached Service List.


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                  BEFORE THE UNITED STATESJUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION

      In Re Deere & Company Repair Services Antitrust Litigation MDL No. 3030

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